       Case 1:16-cr-00484-DKC Document 608 Filed 06/06/17 Page 1 of 11



           United States District Court for the District of Maryland

United States of America                 *

      v.                                 *         Crim. No. 1:16-cr-00484-JKB-2

Bohl, et al.                             *
      [Rozlyn Bratten]

                          Motion to Dismiss Count One

      Pursuant to Fed. R. Crim. P. 12(b)(3), defendant Rozlyn Bratten moves to

dismiss Count One in the Indictment (Doc. 1), the racketeering charge against her.

In support she states:

      1.     Ms. Bratten has been charged along with several other people in two

counts of a four count Indictment. Id.

      2.     Count One alleges 84 instances of wrongdoing. Id.

      3.     Only paragraphs 9 and 10 allege wrongdoing by her. Id. at 15.

      4.     Paragraph 9 indicates only “[i]n or about 2015, CO BRATTEN smuggled

contraband into Housing Unit 1 for the Bloods gang.” Id.

      5.     Paragraph 10 indicates only “[i]n or about 2015, CO BRATTEN

smuggled contraband to inmates who identified themselves as Muslims.” Id.

      6.     There is no specific reference as to when these two isolated acts

occurred, other than a broad statement that they took place sometime in or about

calendar year 2015.

      7.     Neither the alleged contraband is identified in the putative

specification, nor is there any allegation that Ms. Bratten committed either or both
       Case 1:16-cr-00484-DKC Document 608 Filed 06/06/17 Page 2 of 11



acts pursuant to the direction and control of anyone or for anyone’s benefit other than

herself.

      8.       Even if the alleged overt acts and substantive crimes that have been

charged were true, they are purely local and/or individual acts that have absolutely

nothing to do with a racketeering enterprise.

      9.       It is only by the government’s bald allegation of a racketeering

conspiracy that Ms. Bratten has been swept into this Indictment.

      10.      It would be a gross injustice for her to have to defend against a

racketeering charge when the there is no evidence to support the notion that she had

a role in the alleged enterprise.


                                     Legal Principles

 I. Racketeering. 18 U.S.C. §§ 1951 et seq.

      The statute governing Racketeer Influenced and Corrupt Organizations

(“RICO”) makes it “unlawful for any person employed by or associated with any

enterprise engaged in, or the activities of which affect, interstate or foreign commerce,

to conduct or participate, directly or indirectly, in the conduct of such enterprise’s

affairs through a pattern of racketeering activity … .” 18 U.S.C. § 1962(c).

      The elements of a RICO conspiracy in violation of § 1962(d) are:

      1. that there was an agreement among two or more persons to participate in
            an enterprise that would affect interstate commerce through a pattern of
            racketeering activity;
      2. that the defendant knowingly and willfully became a member of that

                                            2
       Case 1:16-cr-00484-DKC Document 608 Filed 06/06/17 Page 3 of 11



          agreement; and
      3. that the defendant or another member of the conspiracy agreed to commit
          two racketeering acts.

See, L. Sand, et al., Modern Federal Jury Instructions – Criminal Instruction 52 –

28.

      While proof of each defendant’s managerial role is not required to sustain a

RICO conspiracy, and a defendant need not engage in specific predicate acts or

assume a management role to sustain a RICO conspiracy conviction under § 1962(d),

the statute “does not criminalize mere association with the enterprise.” United States

v. Mouzone, 687 F.3d 207, 218 (4th Cir., 2012), quoting Brouwer v. Raffensperger,

Hughes & Co., 199 F.3d 961, 965 (7th Cir. 2000).

      Instead, as with traditional conspiracy, criminal liability will attach only to the

knowing “agreement to participate in an endeavor which, if completed would

constitute a violation of the substantive statute.” Goren v. New Vision Int'l, Inc., 156

F.3d 721, 732 (7th Cir. 1998). The government must prove:

      1. that an enterprise affecting interstate commerce existed;
      2. that each defendant knowingly and intentionally agreed with another
          person to conduct or participate in the affairs of the enterprise; and
      3. that each defendant knowingly and willfully agreed that he or some other
          member of the conspiracy would commit at least two racketeering acts.

United States v. Wilson, 605 F.3d 985, 1018 – 19 (D.C. Cir. 2010), see also United

States v. Posada–Rios, 158 F.3d 832, 857 (5th Cir. 1998).



                                           3
       Case 1:16-cr-00484-DKC Document 608 Filed 06/06/17 Page 4 of 11



      While agreeing to advance a RICO undertaking is sufficient, a defendant must

intend to further an endeavor which, if completed, would satisfy all of the elements

of a substantive criminal offense. Mouzone at 218.


 II. “Enterprise” and a “Pattern of Racketeering Activity.”

      In order to prove a Racketeer Influenced and Corrupt Organizations (“RICO”)

violation, the government must prove both the existence of an “enterprise” and a

“pattern of racketeering activity.” See, 18 U.S.C. § 1961(1). A RICO enterprise may

be “any union or group of individuals associated in fact although not a legal entity,”

18 U.S.C. § 1961(4), if it involves “some structure, to distinguish an enterprise from

a mere conspiracy.”

      An enterprise and the pattern of racketeering activity are not one and the

same. An enterprise is an entity separate and apart from the pattern of activity in

which it engages. The existence of an enterprise at all times remains a separate

element that must be proven by the government. See United States v. Turkette, 452

U.S. 576, 582 – 583 (1981); United States v. Griffin, 660 F.2d 996, 999 (4th Cir. 1982).

      To prove the existence of an enterprise, the government must establish that

the associates are bound together by some form of organization and structure so that

they function as a continuing unit, distinguishable from ordinary conspiracy. Id.; See

also, United States v. Perholtz, 842 F.2d 343, 362 – 363 (D.C. Cir. 1988). The burden

is satisfied only by evidence of an association having an ascertainable structure

which exists for the purpose of maintaining operations directed toward an economic

                                           4
       Case 1:16-cr-00484-DKC Document 608 Filed 06/06/17 Page 5 of 11



goal and that organization’s existence was separate and apart from commission of the

predicate acts constituting the “pattern of racketeering” activity. See, United States

v. Tillett, 763 F.2d 628, 631 (4th Cir. 1985); United States v. Anderson, 626 F.2d 1358,

1372 (8th Cir. 1980).

      Just being a member of a group that repeatedly commits criminal acts does not

necessarily show a RICO enterprise. For instance in Perholtz, the Court noted that

while commission of the predicate acts might serve as evidence of the existence of the

enterprise, “the same group of individuals who repeatedly commit predicate offenses

do not necessarily comprise an enterprise.” Perholtz, 842 F.2d at 363.

      Since the Supreme Court’s decision in Turkette, courts have formulated criteria

for determining whether an enterprise is sufficiently separate and apart from the

predicate acts themselves. For example, the Eighth Circuit has held that while a

RICO conspiracy might be shown by proof that a group engaged in a diverse pattern

of crimes or that it has an organizational pattern or system of authority beyond what

was necessary to perpetrate the predicate crimes, the facts failed to establish an

enterprise because there was no sharing of profits and “no real evidence of a

structure, a pattern of authority or control, or of continuity in the pattern of

association or the common purposes of all the defendants.” United States v. Bledsoe,

674 F.2d 647, 665 – 667 (8th Cir.1982).

      In United States v. Bennett, 984 F.2d 597 (4th Cir. 1993), the Fourth Circuit

upheld a RICO conviction against the defendant’s argument that “a pattern of

racketeering activity” was unconstitutionally vague. After considering relevant
                                       5
       Case 1:16-cr-00484-DKC Document 608 Filed 06/06/17 Page 6 of 11



Supreme Court authority, however, the Fourth Circuit declined the government’s

invitation to join those circuits which bar vagueness challenges to RICO prosecutions

generally. Id. at 605–07 (merits of vagueness challenge depend on facts of each case).


III. Interstate Commerce.

      In United States v. Gray, 137 F.3d 765, 772–73 (4th Cir.) (en banc), cert. denied,

525 U.S. 866 (1998), the Fourth Circuit found the evidence sufficient on three

challenged elements of defendant’s racketeering conviction. Specifically, the Court

found sufficient evidence of: “(1) the existence of an enterprise, (2) its connection with

interstate or foreign commerce, and (3) the existence of racketeering.” Id. at 772

(internal quotations omitted).

      Regarding the interstate or foreign commerce element, the Court noted that

the enterprise involved heroin, and “that while the poppy seeds required to produce

heroin are grown in Columbia, South America, the Far East, Southeast Asia, and

Southwest Asia, they are not grown in Maryland.” Id.

      As a general rule, the naked statement that an act affected interstate

commerce is not enough to support a conviction unless it is shown that the act had

an explicit and concrete effect on interstate commerce, United States v. Harrington,

108 F.3d 1460, 1465 (D.C. Cir. 1997).

      In United States v. Lopez, 514 U.S. 549, 558 (1995), the Supreme Court

identified three areas that Congress may regulate pursuant to the Commerce Clause:

1) the channels of interstate commerce; 2) the instrumentalities of interstate

                                            6
        Case 1:16-cr-00484-DKC Document 608 Filed 06/06/17 Page 7 of 11



commerce; and 3) conduct that substantially affects interstate commerce.

       A purely intrastate activity, if it may be regulated at all, may be regulated only

pursuant to the third Lopez category. United States v. Sullivan, 451 F.3d 884, 888

(D.C. Cir. 2006) (Congress could not regulate Sullivan's conduct pursuant to the third

Lopez category, because the conduct did not substantially affect interstate commerce).


                                      Argument

IV. The Indictment on its Face Fails to Allege the Elements of a RICO
    Conspiracy against Ms. Bratten.

     A. RICO Enterprise Affecting Interstate Commerce.

       First, the government appears to allege that the Eastern Correctional

Institution (“ECI”), operated by the State of Maryland, is a RICO enterprise, implying

that the State, including elected and appointed officials are involved. Perhaps what

the government means is that a group or groups of people at ECI operated a de facto

RICO enterprise within ECI, but the Indictment (Doc. 1) does not say that. By not

properly identifying a RICO enterprise, no one can say whether such an unidentified

enterprise would have affected interstate commerce.

       Nor can anyone say whether the alleged smuggling extended outside of

Maryland, and had an “explicit” and “concrete” effect on interstate commerce. United

States v. Sullivan, 451 F.3d 884 (D.C. Cir. 2006). Even if something were smuggled

and was made outside of Maryland, that does not establish the requisite “substantial”

affect. Id.


                                           7
       Case 1:16-cr-00484-DKC Document 608 Filed 06/06/17 Page 8 of 11



      The allegations in the Indictment (Doc. 1) do not come close to the economic

activity that is often attendant to criminal activity having some effect on interstate

commerce, such as extorting money from businesses, robbing a bank, robbing a

business or vehicle delivering goods or services across state lines. There has been no

allegation of even a slight economic burden on commercial activity. Indeed, the

character of the allegations is strictly local, without commercial impact and within

the State of Maryland. Cf. United States v. Edwards, 98 F.3d 1364 (D.C. Cir.1996),

cert. denied, --- U.S. ----, 117 S.Ct. 1437, 137 L.Ed.2d 544 (1997).


     B. Knowing and Intentional Agreement with Another Person to
        Conduct or Participate in the Affairs of the RICO Enterprise.

      The allegations against Ms. Bratten do not demonstrate any type of knowing

and intentional agreement with another person to conduct or participate in the affairs

of an unidentified enterprise. The government does not allege what was smuggled.

By not properly identifying either an enterprise or what was smuggled, no one can

say whether Ms. Bratten knew and intentionally agreed with another person to

conduct or participate in the affairs of an unidentified enterprise.


     C. Knowing and Intentional Agreement that He or Some Other Member
        of the Conspiracy Would Commit at Least Two Racketeering Acts.

      Without knowledge of either an unidentified enterprise or what was smuggled,

no one can say whether each defendant knowingly and willfully agreed that he or

some other member of the conspiracy would commit at least two racketeering acts.


                                            8
       Case 1:16-cr-00484-DKC Document 608 Filed 06/06/17 Page 9 of 11



V. Conclusion.

      The government has strung together a disparate set of allegations and

packaged them as a RICO indictment. No RICO enterprise is properly defined and

identified. Accordingly it is nonexistent. Nor can anyone say whether Ms. Bratten

knew and intentionally agreed with another person to conduct or participate in the

affairs of an unidentified enterprise, or whether each defendant knowingly and

willfully agreed that he or some other member of the conspiracy would commit at

least two racketeering acts.

      This is contrary to the intent of Congress and in violation of the due process

rights guaranteed to Ms. Bratten. The RICO count should be dismissed.


                                Request for Hearing

      Pursuant to Loc. R. 105.6, defendant requests a hearing.


                                Table of Authorities

Brouwer v. Raffensperger, Hughes & Co., 199 F.3d 961 (7th Cir. 2000).

Goren v. New Vision Int'l, Inc., 156 F.3d 721 (7th Cir. 1998).

United States v. Anderson, 626 F.2d 1358 (8th Cir. 1980).

United States v. Bennett, 984 F.2d 597 (4th Cir. 1993).

United States v. Bledsoe, 674 F.2d 647 (8th Cir.1982).

United States v. Edwards, 98 F.3d 1364 (D.C. Cir. 1996).

United States v. Gray, 137 F.3d 765 (4th Cir. 1998).

United States v. Griffin, 660 F.2d 996, 999 (4th Cir. 1982).


                                           9
       Case 1:16-cr-00484-DKC Document 608 Filed 06/06/17 Page 10 of 11



United States v. Harrington, 108 F.3d 1460 (D.C. Cir. 1997).

United States v. Lopez, 514 U.S. 549 (1995).

United States v. Mouzone, 687 F.3d 207 (4th Cir. 2012).

United States v. Perholtz, 842 F.2d 343 (D.C. Cir. 1988).

United States v. Posada–Rios, 158 F.3d 832 (5th Cir. 1998).

United States v. Sullivan, 451 F.3d 884 (D.C. Cir. 2006).

United States v. Tillett, 763 F.2d 628 (4th Cir. 1985).

United States v. Turkette, 452 U.S. 576 (1981).

United States v. Wilson, 605 F.3d 985 (D.C. Cir. 2010).

18 U.S.C. § 1951.

18 U.S.C. § 1961.

18 U.S.C. § 1962(c)

Fed. R. Crim. P. 12(b)(3).

Loc. R. 105.6.


                                                                   /s/
                                                William L. Welch, III
                                                111 South Calvert Street, Suite 2700
                                                Baltimore, Maryland 21202
                                                wlw@wwelchattorney.com
                                                Telephone: (410) 385-5630
                                                Facsimile: (866) 875-3758
                                                Counsel for Rozlyn Bratten

                                Certificate of Service

      I hereby certify that on this 6th day of June, 2017 a copy of the foregoing Motion

to Dismiss Count One was delivered electronically to Messrs. Leo Joseph Wise

(Leo.Wise@usdoj.gov), Robert Reeves Harding (robert.harding@usdoj.gov), and
                                           10
      Case 1:16-cr-00484-DKC Document 608 Filed 06/06/17 Page 11 of 11



Daniel Charles Gardner (daniel.gardner@usdoj.gov) Office of the United States’

Attorney, 36 South Charles Street, Fourth Floor, Baltimore, Maryland 21201.


                                                               /s/
                                            William L. Welch, III




                                       11
